




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

CHRISTOPHER SZCZECH,)
		   No. 08-03-00302-CR

)


			Appellant,)
			Appeal from

)
	

v.)
		     243rd District Court

)


THE STATE OF TEXAS,)
		 of El Paso County, Texas

)


			Appellee.)
		        (TC# 990D03002)


MEMORANDUM OPINION



	This is an attempted appeal from a conviction for aggravated robbery.  Finding that Appellant
did not timely file his notice of appeal, we dismiss the appeal for want of jurisdiction.

	The record before us reflects that sentence was imposed in open court on July 20, 1999. 
Appellant did not file a motion for new trial.  He filed a handwritten notice of appeal on June 30,
2003.  By letter dated June 30, 2003, the Clerk's Office notified in Appellant in writing of the
Court's intent to dismiss this appeal for want of jurisdiction.

	A timely notice of appeal is necessary to invoke this Court's jurisdiction.  Olivo v. State, 918
S.W.2d 519, 522 (Tex.Crim.App. 1996).  Rule 26.2(a) prescribes the time period in which notice of
appeal must be filed by the defendant in order to perfect appeal in a criminal case.  A defendant's
notice of appeal is timely if filed within thirty days after the day sentence is imposed or suspended
in open court, or within ninety days after sentencing if the defendant timely files a motion for new
trial.  Tex.R.App.P. 26.2(a); Olivo, 918 S.W.2d at 522.  Pursuant to Rule 26.3, a court of appeals
may grant an extension of time to file notice of appeal if the notice is filed within fifteen days after
the last day allowed and, within the same period, a motion is filed in the court of appeals reasonably
explaining the need for the extension of time.  Tex.R.App.P. 26.3; Olivo, 918 S.W.2d at 522.  Under
Rule 26.3, a late notice of appeal may be considered timely so as to invoke a court of appeals'
jurisdiction if (1) it is filed within fifteen days of the last day allowed for filing, (2) a motion for
extension of time is filed in the court of appeals within fifteen days of the last day allowed for filing
the notice of appeal, and (3)  the court of appeals grants the motion for extension of time.  Olivo, 918
S.W.2d at 522.

	When a defendant appeals from a conviction in a criminal case, the time to file notice of
appeal runs from the date sentence is imposed or suspended in open court, not from the date sentence
is signed and entered by the trial court.  Rodarte v. State, 860 S.W.2d 108, 109 (Tex.Crim.App.
1993).  The last date allowed for timely filing of the notice of appeal was thirty days after the day
the sentence was imposed in open court.  Tex.R.App.P. 26.2(a)(1).  Because Appellant did not file
his notice of appeal until eleven months after sentencing, he failed to perfect this appeal. 
Accordingly, we dismiss the appeal for want of jurisdiction.



October 23, 2003					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 4

Barajas, C.J., Larsen, and McClure, JJ.


(Do Not Publish)


